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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION




  PAUL MATHIESON,

         Petitioner
  v.                                                    CASE NO. 8:04-CV-265-T-30MAP
                                                                 8:98-CR-322-T-30MAP
  UNITED STATES OF AMERICA,

       Respondent.
  ______________________________/

                                           ORDER

         This cause is before the Court on Petitioner’s Motion for Leave to File Supplemental

  Pleading in Excess of Page Limit (Dkt. 54). Petitioner's motion is premised on the Supreme

  Court's holding in Shepard v. United States, __ U.S. __, 125 S.Ct. 1254 (Mar. 7, 2005);

  United States v. Booker, 543 U.S. __, 125 S.Ct. 738, 756 (Jan. 12, 2005) (finding that the

  mandatory nature of the federal sentencing guidelines rendered them incompatible with the

  Sixth Amendment's guarantee to the right to a jury trial); Blakely v. Washington, 542 U.S.

  __, 124 S.Ct. 2531, 2537 (Jun. 24, 2004); and Apprendi v. New Jersey, 530 U.S. 466, 490

  (2000).

         On February 17, 2005, the Eleventh Circuit entered a decision in Varela v. United

  States addressing the applicability of the Supreme Court’s decision in Blakely and Booker

  to cases on collateral review, holding that:

         While neither this Court nor the Supreme Court has addressed the retroactivity
         of Blakely or Booker in the context of a § 2255 motion, the Supreme Court's
         recent decision in Schriro v. Summerlin, 542 U.S. ----, 124 S.Ct. 2519, 159
         L.Ed.2d 442 (2004), is essentially dispositive. In Schriro, the Supreme Court
         concluded that the new requirement in Ring v. Arizona, 536 U.S. 584, 122
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        S.Ct. 2428, 153 L.Ed.2d 556 (2002), which, like Blakely and Booker, is an
        application of Apprendi's principles, does not apply retroactively to cases on
        collateral review. Schriro, 124 S.Ct. at 2526-27.

        In Ring, the Supreme Court concluded that an Arizona law was
        unconstitutional under Apprendi because it placed in the hands of the judge
        the power to find any one of ten aggravating factors necessary to trigger the
        death penalty. The Supreme Court in Ring concluded that the Sixth
        Amendment gave a defendant the right to have a jury find such aggravating
        sentencing factors beyond a reasonable doubt. Ring, 536 U.S. at 609, 122
        S.Ct. at 2443.

        In Schriro, the Supreme Court analyzed the Ring rule under Teague, and
        concluded that Ring's jury requirement on aggravating sentencing factors was
        a new rule of criminal procedure and not a substantive rule. Schriro, 124 S.Ct.
        at 2523. The Supreme Court noted that Ring did not alter the range of conduct
        that the Arizona law subjected to the death penalty. Instead, "Ring altered the
        range of permissible methods for determining whether a defendant's conduct
        is punishable by death, requiring that a jury rather than a judge find the
        essential facts bearing on punishment." Id. The Supreme Court then stated
        that "[r]ules that allocate decisionmaking authority in this fashion are
        prototypical procedural rules. ..." Id. (emphasis added).

        The Supreme Court's statements in Schriro regarding the Ring rule also apply
        to Booker. In Booker, a majority of the Supreme Court, in an opinion authored
        by Justice Stevens, concluded that the mandatory nature of the Guidelines
        made them incompatible with the Sixth Amendment's guarantee to the right
        to a jury trial where "[a]ny fact (other than a prior conviction) which is
        necessary to support a sentence exceeding the maximum authorized by the
        facts established by a plea of guilty or a jury verdict [was not] admitted by the
        defendant or proved to a jury beyond a reasonable doubt." Booker, 125 S.Ct.
        at 756; In re Anderson, 396 F.3d 1336, at 1339 (11th Cir. 2005). Similar to the
        constitutional rule announced in Ring, the constitutional rule announced in
        Booker is a "prototypical procedural rule[]." See Schriro, 124 S.Ct. at 2523.

        A procedural decision may be applied retroactively if it establishes one of
        those rare "watershed rules of criminal procedure implicating the fundamental
        fairness and accuracy of the criminal proceeding." Schriro, 124 S.Ct. at 2524
        (quotation marks and citations omitted). In Schriro, the Supreme Court noted
        that "[t]he right to jury trial is fundamental to our system of criminal procedure,"
        but the Court ultimately held that Ring's "jury-not-judge" rule was not a
        "watershed rule[ ] of criminal procedure" to be applied retroactively. Id. at
        2526. We now join the Seventh Circuit in concluding that the same is true of
        Booker. McReynolds v. United States, 397 F.3d 479, at 480 (7th Cir. 2005)
        (concluding that Booker does not apply retroactively to cases on collateral

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        review and stating that "[a]lthough the Supreme Court did not address the
        retroactivity question in Booker, its decision in Schriro v. Summerlin, 542 U.S.
        ----, 124 S.Ct. 2519, 159 L.Ed.2d 442 (2004), is all but conclusive on the
        point").

        Therefore, as the Supreme Court concluded in Schriro, we conclude that
        Booker's constitutional rule falls squarely under the category of new rules of
        criminal procedure that do not apply retroactively to § 2255 cases on collateral
        review. See Schriro, 124 S.Ct. at 2526-27.

  400 F.3d 864, 867-68 (11th Cir. 2005) (footnote omitted).

        As to Petitioner’s contention that the recent Supreme Court decision in Shepard v.

  United States, __ U.S. __, 125 S.Ct. 1254 (2005), invalidates the rule of Almendarez-Torres,

  entitling him to resentencing, the Court finds Petitioner’s arguments unavailing.         In

  Almendarez-Torres, the Supreme Court held that a judge (as opposed to a jury) may find

  the fact of a defendant's prior conviction without violating the Sixth Amendment. 523 U.S.

  224, 226-27 (1998). Petitioner argues to the contrary, citing the recent Supreme Court

  decision in Shepard v. United States, __ U.S. __, 125 S.Ct. 1254 (2005) (holding that police

  reports or complaint applications cannot form the basis for determining whether an earlier

  guilty plea supports a conviction for "generic burglary" for purposes of imposing an armed

  career criminal enhancement under the sentencing guidelines.). In a recent decision

  addressing the viability of Almendarez-Torres, the Eleventh Circuit held as follows:

        Camacho's sixteen-level enhancement was based solely on the fact that he
        had previous convictions. In Almendarez-Torres v. United States, 523 U.S.
        224, 118 S.Ct. 1219, 140 L.Ed.2d 350 (1998), the Supreme Court held that the
        government need not allege in its indictment and need not prove beyond a
        reasonable doubt that a defendant had prior convictions for a district court to
        use those convictions for purposes of enhancing a sentence. Id.; see also
        United States v. Marseille, 377 F.3d 1249, 1257 (11th Cir. 2004). "This
        conclusion was left undisturbed by Apprendi, Blakely, and Booker." United
        States v. Shelton, 400 F.3d 1325, 1329 (11th Cir. 2005). [FN3] Therefore, the
        district court did not violate Camacho's Sixth Amendment rights by applying
        the . . . enhancement based on his previous convictions.

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                 FN3. Although recent decisions, including Shepard v. United States, --- U.S.
                 ----, --- S.Ct. ----, --- L.Ed.2d ---- (2005), may arguably cast doubt on the future
                 prospects of Almendarez-Torres's holding regarding prior convictions, the
                 Supreme Court has not explicitly overruled Almendarez-Torres. As a result,
                 we must follow Almendarez-Torres. See Hohn v. United States, 524 U.S.
                 236, 252-53, 118 S.Ct. 1969, 1978, 141 L.Ed.2d 242 (1998) ("Our decisions
                 remain binding precedent until we see fit to reconsider them, regardless of
                 whether subsequent cases have raised doubts about their continuing
                 vitality.").

  United States v. Camacho-Ibarquen, __ F.3d __, 2005 WL 1297236 (11th Cir. Jun. 2,

  2005).

           Applying the holding in Varela and Camacho-Ibarquen, the Court finds that granting

  Petitioner leave to supplement his § 2255 motion would be futile. See Foman v. Davis, 371

  U.S. 178, 182 (1962); Bryant v. Dupree, 252 F.3d 1161, 1163 (11th Cir. 2001); Brewer-

  Giorgio v. Producers Video, Inc., 216 F.3d 1281, 1284 (11th Cir. 2000) (motion to amend

  may be denied if amendment is futile).

           ACCORDINGLY, the Court ORDERS that Petitioner’s Motion for Leave to File

  Supplemental Pleading in Excess of Page Limit (Dkt. 54) is DENIED.

           DONE and ORDERED in Tampa, Florida on July 1, 2005.




  Copies furnished:
  Counsel/Party of Record

  SA:jsh




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